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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.
                                                      Case No. 23-cr-208 (BAH)
 KIMBERLY DRAGOO and
 STEVEN DRAGOO,

      Defendants.

     PARTIES’ JOINT STATUS REPORT REGARDING SENTENCING EXHIBITS

         The United States and Counsel for the defendants jointly file this status report in response

to the Court’s Minute Order of April 11, 2024. The Parties have no objection to the public release

of the video exhibits in the government’s exhibit list: Exhibits B-E, G, and H.


                                               Respectfully submitted,
                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               DC Bar No. 481052

                                       By:     /s/ Kyle M. McWaters
                                               Kyle M. McWaters
                                               Assistant United States Attorney
                                               D.C. Bar No. 241625
                                               601 D Street NW
                                               Washington, DC 20003
                                               (202) 252-6983
                                               kyle.mcwaters@usdoj.gov


                                               /s/ Bruce Castor_____
                                               Bruce L. Castor, Jr.
                                               Attorney at Law
                                               van der Veen, Hartshorn, Levin, & Lindheim
                                               1219 Spruce St.
                                               Philadelphia, PA 19107
                                               (215) 546-8529
                                               bcastor@mtvlaw.com




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